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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

     1. DANIEL E. LANG, individually and as        )
        Trustee of The Lang Family Revocable       )
        Trust,                                     )
     2. LINDA K. LANG, individually,               )
     3. THE LANG FAMILY REVOCABLE                  )
        TRUST,                                     )
                                                   )
              Plaintiffs,                          )
                                                   )
v.                                                 ) Case No. CIV-17-919-D
                                                   )
 1. FARMERS INSURANCE COMPANY,                     )
     INC., a foreign, for-profit insurance         )
     corporation,                                  )
                                                   )
              Defendant.                           )

            STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs,

Daniel E. Lang, individually and as Trustee of the Lang Family Revocable Trust,

Linda K. Lang and The Lang Family Revocable Trust, and Defendant, Farmers

Insurance Company, Inc., hereby stipulate to the dismissal of the above entitled

action without prejudice to the refiling thereof. Each side is to bear its own costs

and fees.
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                    Sullivan’s permission)
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